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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    SUSAN CLARK, for herself and/or on behalf of CASE NO. C20-1106-JCC
      all others similarly situated,
10
                                                   MINUTE ORDER
11                             Plaintiff,
              v.
12
      EDDIE BAUER LLC, and EDDIE BAUER
13    PARENT LLC,
14                           Defendants.
15

16          The following Minute Order is made by direction of the Court, the Honorable John C.
17   Coughenour, United States District Judge:
18          This matter comes before the Court on the parties’ stipulated motion to extend Plaintiff’s
19   deadline to move for class certification under Local Civil Rule 23(i)(3) (Dkt. No. 25). The parties
20   have agreed not to conduct discovery while Defendants’ motion to dismiss is pending because
21   the motion could be dispositive. (See id. at 2.) Defendants’ motion is still pending, and the
22   deadline for Plaintiff to move for class certification under the Local Civil Rules is approaching.
23   (See id.) Accordingly, the parties request that the Court continue Plaintiff’s deadline to move for
24   class certification until six months after the Court rules on Defendants’ motion to dismiss so that
25   Plaintiff can conduct discovery to support the motion. (See id.)
26          Having thoroughly considered the parties’ motion and the relevant record and finding

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 1   good cause the Court GRANTS the parties’ motion and ORDERS as follows:

 2             1. Plaintiff’s deadline to move for class certification is CONTINUED until six

 3                 months after the date on which the Court enters an order resolving Defendants’

 4                 pending motion to dismiss (Dkt. No. 16).

 5             2. The parties are DIRECTED to meet and confer and file a motion setting forth the

 6                 parties’ views on an appropriate briefing schedule within 14 days of the date on

 7                 which the Court enters an order resolving Defendants’ pending motion to dismiss

 8                 (Dkt. No. 16). If the parties disagree, they may set forth their positions separately
 9                 within the document, and the Court will resolve any disputes. The Court will
10                 consider that motion along with the parties’ joint status report (Dkt. No. 24) to set
11                 an appropriate case schedule.
12

13         DATED this 11th day of January 2021.
14                                                         William M. McCool
                                                           Clerk of Court
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                                                           s/Paula McNabb
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                                                           Deputy Clerk
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